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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


JEFFREY FRANZ, et al,

                                  Plaintiffs,
v.                                                              No. 21-cv-12871

OXFORD COMMUNITY SCHOOL DISTRICT, et al.,                       Hon. Mark A. Goldsmith

                                  Defendants.


           ORDER FOR JOINT STATEMENT AND STATUS CONFERENCE ON
                   COORDINATION OF RELATED LITIGATION

         The shooting at Oxford High School on November 30, 2021 has given rise to a number of

 lawsuits in this Court and one in Oakland County Circuit Court. As of this date, these related

 actions include:

        Case No. 21-12871, Franz et al. v. Oxford Community School District et al. (E.D. Mich.);

        Case No. 22-10407, Asciutto et al v. Oxford Community School District et al. (E.D. Mich.);

        Case No. 22-11113, Myre et al. v. Oxford Community School District et al. (E.D. Mich.);

        Case No. 22-10805, St. Juliana et al v. Oxford Community School District et al. (E.D.

         Mich.);

        Case No. 22-11250, Beausoleil v. Oxford Community School District, et al. (E.D. Mich.);

        Case No. 22-11251, Ossege v. Oxford Community School District, et al. (E.D. Mich.);

        Case No. 22-11360, GLJ, et al. v. Oxford Community School District, et al., and

        Case No. 22-192262, Myre et al. v. Fine et al. (Mich. Cir. Ct.).
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       In an earlier status conference of all counsel in the related actions filed in the United States

District Court for the Eastern District of Michigan, the view was expressed and generally approved

that coordination of discovery and other matters would facilitate proceedings in these cases.

Because the Court has not been presented with any concrete proposal, it now orders as follows:

   1. Counsel in the related actions filed in the Eastern District of Michigan must confer in an

       effort to coordinate discovery and other matters and file on the record a Joint Statement

       setting forth their points of agreement and disagreement, if any. Discussions should

       include to what extent, if any, coordination with state-court lawsuits involving related

       claims should be established. Counsel must also submit a proposed stipulated order through

       the utilities function reflecting provisions on which the parties agree. Parties proposing

       different or additional language should include such language in the body of the Joint

       Statement and in the form of an alternative proposed order.

   2. Counsel are advised that, for technical reasons, formal consolidation of these related cases

       may not be appropriate, but the functional equivalent of consolidation may be

       accomplished by the entry of identical orders in all related cases.

   3. The Joint Statement must be filed no later than July 11, 2022. The Court will convene a

       status conference to discuss the Joint Statement.

       SO ORDERED.

Dated: June 28, 2022                                  s/Mark A. Goldsmith
       Detroit, Michigan                              MARK A. GOLDSMITH
                                                      United States District Judge




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